 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 1 of 9 PageID: 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 J. CHIU, individually and on behalf of all           INDIVIDUAL AND CLASS ACTION FOR
 those similarly situated,                            UNPAID OVERTIME UNDER NEW
 602 N. Blackhorse Pike                               JERSEY WAGE AND HOUR LAW
 Williamstown, NJ 08094

                 Plaintiff,                           Civil Action No.:
         v.
                                                      JURY TRIAL DEMANDED
 FEDEX GROUND PACKAGE SYSTEM,
 INC.,
 1000 FedEx Drive
 Moon Township, PA 15108

                 Defendant.


                     INDIVIDUAL AND CLASS ACTION COMPLAINT

       Named Plaintiff J. Chiu (hereinafter referred to as “Named Plaintiff”), individually and on

behalf of those similarly situated, by and through undersigned counsel, hereby complains as

follows against Defendant FedEx Ground Package System, Inc. (hereinafter referred to as

“Defendant”).

                                        INTRODUCTION

       1.       Named Plaintiff has initiated the instant action to redress Defendant’s violations of

the New Jersey Wage and Hour Law (“NJWHL”). Named Plaintiff asserts that Defendant failed

to pay her and other similarly situated individuals at least one and one-half times their regular rates

for all hours worked more than 40 hours in a workweek due to Defendant’s policy of not including

time spent in security screenings (described below) as hours worked. As a result of Defendant’s

unlawful actions, Named Plaintiff and those similarly situated have suffered damages.

                                              PARTIES

       2.       The foregoing paragraphs are incorporated herein as if set forth in full.
                                                  1
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 2 of 9 PageID: 2




        3.      Named Plaintiff is an adult individual with an address as set forth above.

        4.      Defendant is a company operating in New Jersey.

        5.      At all times relevant herein, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                      JURISDICTION AND VENUE

        6.      The foregoing paragraphs are incorporated herein as if set forth in their entirety.

        7.      This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332(d), because it is a class action, the amount in controversy exceeds $5,000,000, and

Named Plaintiff and Defendant are citizens of different states.

        8.      This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial justice.

        9.      Venue is properly laid in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(1)

and (b)(2), because Defendants reside in and/or conduct business in this judicial district and

because a substantial part of the acts and/or omissions giving rise to the claims set forth herein

occurred in this judicial district.

        10.     The foregoing paragraphs are incorporated herein as if set forth in their entirety.

                                CLASS ACTION ALLEGATIONS

        11.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Named Plaintiff brings

her claims for relief to redress Defendant’s violations of the New Jersey Wage and Hour Law

individually and on behalf of those similarly situated.

        12.     Specifically, Named Plaintiff seeks to represent a class of all persons presently and

formerly employed by Defendant as package handlers and/or non-exempt hourly positions who
                                                  2
    Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 3 of 9 PageID: 3




worked in one of Defendant’s New Jersey distribution centers and were subject to the wage and

hour policies of Defendant, as discussed infra, at any point during the applicable statute of

limitations period1 (hereinafter members of this putative class are referred to as “Class Plaintiffs”).

         13.      Named Plaintiff is similarly situated to Class Plaintiffs in that Named Plaintiff, like

Class Plaintiffs, was/is an hourly employee of Defendant and was subjected to the wage and hour

policies discussed infra.

         14.      The class is so numerous that the joinder of all class members is impracticable.

Named Plaintiff does not know the exact size of the class, as such information is in the exclusive

control of Defendant; however, on information and belief, the number of potential class members

is more than forty (40) individuals.

         15.      Named Plaintiff’s claims are typical of the claims of the Class Plaintiffs, because

Named Plaintiff, like all Class Plaintiffs, worked for Defendant in New Jersey during the period

from October 1, 2013 through the present and was subject to the same wage and hour policies

described herein.

         16.      Named Plaintiff will fairly and adequately protect the interests of the Class

Plaintiffs, because Named Plaintiff’s interests are coincident with and not antagonistic to those of

the class. Named Plaintiff has retained counsel with substantial experience in the prosecution of

claims involving employee wage disputes.




1
  On October 1, 2019, a class action was filed in the Superior Court of New Jersey and removed to the U.S. District
Court for the District of New Jersey, alleging claims under the NJWHL identical to those in the instant Complaint.
See Farrell v. FedEx Ground Package System, Inc. No. 3:19-cv-19973 (D.N.J.). On January 14, 2021, the District
Court dismissed Farrell without prejudice following the death of the named plaintiff for whom no appropriate person
to proceed in her place was identified. See Farrell, Doc. 34. At the time of dismissal, the District Court had not yet
ruled on whether the case was suitable to proceed as a class action pursuant to Rule 23. Accordingly, the statute of
limitations for the claims brought in the instant Complaint was tolled during the pendency of the Farrell case for
Named Plaintiff and the putative class she seeks to represent here.

                                                          3
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 4 of 9 PageID: 4




       17.     No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action. The class will be easily identifiable from

Defendant’s records.

       18.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Such treatment will allow all similarly situated individuals to

prosecute their common claims in a single forum simultaneously. Prosecution of separate actions

by individual members of the putative class would create the risk of inconsistent or varying

adjudications with respect to individual members of the class that would establish incompatible

standards of conduct for Defendant. Furthermore, the amount at stake for individual putative class

members may not be great enough to enable all the individual putative class members to maintain

separate actions against Defendant.

       19.     Questions of law and fact that are common to the members of the class predominate

over questions that affect only individual members of the class. Among the questions of law and

fact that are common to the class are, inter alia, 1) whether Defendant’s failure to pay Named

Plaintiff and Class Plaintiffs overtime wages for the time spent in mandatory security screenings

at the beginning and end of their shifts violated the NJWHL, 2) whether Defendant had a good

faith basis for failing to pay Named Plaintiff wages for time spent in the mandatory security

screenings.

                                 FACTUAL BACKGROUND

       20.     The foregoing paragraphs are incorporated herein as if set forth in full.

       21.     For several months ending in or around the winter of 2019, Named Plaintiff worked

for Defendant as a package handler.

       22.     Named Plaintiff earned an hourly rate.



                                                 4
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 5 of 9 PageID: 5




          23.   Throughout her employment, Named Plaintiff regularly worked at least forty (40)

hours in a workweek according to Defendant’s determination of her hours worked (i.e. excluding

the unpaid hours worked at-issue).

          24.   Defendant classified Named Plaintiff as a non-exempt employee under the

NJWHL.

          25.   Accordingly, Named Plaintiff was a non-exempt employee under the NJWHL.

          26.   Class Plaintiffs worked/work for Defendant in non-exempt, hourly positions and

were/are subject to the same policies described herein.

          27.   Class Plaintiffs earned/earn an hourly wage.

          28.   Class Plaintiffs regularly worked/work at least 40 hours in a workweek according

to Defendant’s determination of their hours worked (i.e. excluding the unpaid hours worked at-

issue).

          29.   Defendant classified/classifies Class Plaintiffs as non-exempt employees under

NJWHL.

          30.   Accordingly, Class Plaintiffs were/are non-exempt employees under the NJWHL.

                Failure to Pay Overtime for Time Spent in Security Screenings

          31.   The foregoing paragraphs are incorporated herein as if set forth in full.

          32.   At the beginning of each workday, Defendant required/requires Named Plaintiff

and Class Plaintiffs (hereinafter collectively referred to as “Plaintiffs”) to go through a security

screening.

          33.   Defendant required/requires Plaintiffs to go through the security screening prior to

clocking in.




                                                  5
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 6 of 9 PageID: 6




       34.       At the end of each workday, Defendant required/requires Plaintiffs to go through

the same security screening after clocking out.

       35.       Defendant compensated/compensates Plaintiffs only for hours recorded in its time

clock system.

       36.       As Plaintiffs went/go through the security screenings off-the-clock, Defendant

did/does not compensate Plaintiffs for the time it took/takes Plaintiffs to go through the security

screening.

       37.       As Plaintiffs regularly worked/work at least forty (40) hours each workweek,

excluding the time spent in security screenings, Defendant’s failure to pay them for the additional

time spent in the screenings resulted in Defendant paying Plaintiffs less than one and one-half

times their regular rate for all hours worked over forty (40) hours in a workweek.

                                            COUNT I
                 Violations of the New Jersey Wage and Hour Law (“NJWHL”)
                        (Named Plaintiff and Class Plaintiffs v. Defendant)
             (Failure to Pay Overtime Wages for Time Spent in Security Screenings)

       38.       The foregoing paragraphs are incorporated herein as if set forth in full.

       39.       At all times relevant herein, Defendant stand/stood in an Employer/Employee

relationship with Named Plaintiff and Class Plaintiffs under the NJWHL.

       40.       At all times relevant herein, Defendant is/was responsible for paying wages to

Named Plaintiff and Class Plaintiffs.

       41.       Pursuant to the NJWHL, all the time an employee is required to be at his or her

place of work shall be counted as hours worked.

       42.       Defendant violated the NJWHL by failing to include the time Named Plaintiff and

Class Plaintiffs spent/spend in security screenings as hours worked for the purpose of paying

overtime wages.

                                                   6
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 7 of 9 PageID: 7




       43.        Defendant’s conduct in failing to pay Named Plaintiffs and Collective Plaintiffs

properly was and is not an inadvertent error made in and good faith, and Defendant had no

reasonable grounds for believing that the conduct was not a violation of the NJWHL.

       44.        As a result of Defendant’s conduct, Named Plaintiff and Class Plaintiffs have

suffered damages as set forth herein.

       WHEREFORE, Named Plaintiff and Class Plaintiffs pray that this Court enter an Order

providing that:

       (1)        Defendant is to be prohibited from continuing to maintain its illegal policy, practice

or customs in violation of the New Jersey Wage and Hour Law;

       (2)        Defendant is to compensate, reimburse, and make Named Plaintiff and Class

Plaintiffs whole for any and all pay they would have received had it not been for Defendant’s

illegal actions, including but not limited to past lost earnings;

       (3)        Named Plaintiff and Class Plaintiffs are to be awarded liquidated damages as

provided by the NJWHL;

       (4)        Named Plaintiff and Class Plaintiffs are to be awarded the costs and expenses of

this action and reasonable legal fees as provided by the NJWHL;

       (5)        Named Plaintiff and Class Plaintiffs are to be awarded all other relief this Court

deems just and proper.

       (6)        Named Plaintiff’s and Class Plaintiffs’ claims are to receive a jury trial.



                                                         Respectfully Submitted,

                                                         /s/ Matthew D. Miller
                                                         Matthew D. Miller, Esq.
                                                         Justin L. Swidler, Esq.
                                                         Richard S. Swartz, Esq.

                                                    7
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 8 of 9 PageID: 8




                                         SWARTZ SWIDLER, LLC
                                         1101 Kings Highway N., Ste. 402
                                         Cherry Hill, NJ 08034
                                         Phone: (856) 685-7420
                                         Fax: (856) 685-7417
Date: January 26, 2021




                                     8
 Case 3:21-cv-01181-FLW-RLS Document 1 Filed 01/26/21 Page 9 of 9 PageID: 9




                            DEMAND TO PRESERVE EVIDENCE

       Defendant is hereby directed to preserve all physical and electronic information pertaining

in any way to Named Plaintiff’s and Class Plaintiffs’ employment, to Named Plaintiff’s and Class

Plaintiffs’ cause of action and/or prayers for relief, and to any defenses to same, including, but not

limited to, electronic data storage, closed circuit TV footage, digital images, computer images,

cache memory, searchable data, emails, spread sheets, employment files, memos, text messages,

any and all online social or work related websites, entries on social networking sites (including,

but not limited to, Facebook, Twitter, MySpace, etc.), and any other information and/or data and/or

things and/or documents which may be relevant to any claim or defense in this litigation.

       By way of example, but not limitation, Defendant is directed to preserve all video showing

Named Plaintiff and/or Class Plaintiffs clocking out and passing through security screenings.




                                                  9
